                                                                          Motion (DE #1211) GRANTED




                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )                No.   3:11-cr-00083
       v.                                     )
                                              )                Judge Trauger
[2] MARIO GONZALEZ                            )
                                              )
[8] LIZANDRO BARRIOS                          )

                                    MOTION TO DISMISS

       The United States of America, by and through Donald Q. Cochran, United States

Attorney for the Middle District of Tennessee, and Assistant United States Attorney Brent A.

Hannafan, hereby moves to dismiss this case with prejudice against defendants Gonzalez and

Barrios.

       This case was indicted in 2011. The defendants have not been arrested. The United

States does not have any information on their location, does not expect they will be arrested in

the near future, and would face challenges in prosecuting these defendants at trial due to the

lapse in time since indictment. Given those circumstances, the United States hereby moves to

dismiss this case as to these two defendants with prejudice.

                                                     Respectfully submitted,


                                                     DONALD Q. COCHRAN
                                                     United States Attorney
                                                     Middle District of Tennessee

                                                      /s Brent A. Hannafan
                                                     Brent A. Hannafan
                                                     Assistant United States Attorney
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